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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
         v.                                      )   No. 21 CR 50008 - 1
                                                 )   Judge Iain D. Johnston
SCOTT KOTESKI                                    )

                                      NOTICE OF FILING

To:      AUSA Scott Paccagnini
         327 South Church Street, Suite 3300
         Rockford, Illinois 61101

       PLEASE TAKE NOTICE that on the 27th day of June, 2021, I caused to be filed with
the Clerk of the United States District Court for the Northern District of Illinois, 327 South
Church Street, Rockford, Illinois 61101, the following pleading:

                      DEFENDANT’S SENTENCING MEMORANDUM

         A copy of said pleading is attached hereto and is herewith served upon you.


                                                     By:     /s/ Brendan W. Caver
                                                             Brendan W. Caver
                                                             Attorney for Defendant


                                 CERTIFICATE OF SERVICE

        The undersigned counsel certifies that he served the above and foregoing document upon
all parties entitled to notice thereof by use of this Court’s Electronic Case Management system
on the 27th day of June, 2021.
                                                              /s/ Brendan W. Caver
                                                              Brendan W. Caver




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